                               UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF TENNESSEE
                                     AT CHATTANOOGA


 UNITED STATES OF AMERICA                              )
                                                       )       Case No. 1:12-cr-143
 v.                                                    )
                                                       )       COLLIER / LEE
 RAYMOND SCOTT KNOX                                    )


                              REPORT AND RECOMMENDATION

         Pursuant to 28 U.S.C. § 636(b), I conducted a plea hearing in this case on July 10, 2013. At

 the hearing, defendant moved to withdraw his not guilty plea to Count One of the seven-count

 Superseding Indictment and entered a plea of guilty to the lesser included offense of the charge in

 Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of

 methamphetamine (actual) or fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) in exchange for the undertakings made by the

 government in the written plea agreement. On the basis of the record made at the hearing, I find the

 defendant is fully capable and competent to enter an informed plea; the plea is made knowingly and

 with full understanding of each of the rights waived by defendant; the plea is made voluntarily and

 free from any force, threats, or promises, apart from the promises in the plea agreement; the

 defendant understands the nature of the charge and penalties provided by law; and the plea has a

 sufficient basis in fact.

         Therefore, I RECOMMEND defendant’s motion to withdraw his not guilty plea to Count

 One of the Superseding Indictment be granted, his plea of guilty to the lesser included offense of the

 charge in Count One, that is of conspiracy to manufacture and distribute five (5) grams or more of




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 methamphetamine (actual) or fifty (50) grams or more of a mixture and substance containing a

 detectable amount of methamphetamine, a Schedule II controlled substance, in violation of 21

 U.S.C. §§ 846, 841(a)(1), and 841(b)(1)(B) be accepted, the Court adjudicate defendant guilty of

 the lesser included offense of the charge in Count One of the Superseding Indictment, that is of

 conspiracy to manufacture and distribute five (5) grams or more of methamphetamine (actual) or

 fifty (50) grams or more of a mixture and substance containing a detectable amount of

 methamphetamine, a Schedule II controlled substance, in violation of 21 U.S.C. §§ 846, 841(a)(1),

 and 841(b)(1)(B) , and a decision on whether to accept the plea agreement be deferred until

 sentencing. I further RECOMMEND defendant remain in custody until sentencing in this matter.

 Acceptance of the plea, adjudication of guilt, acceptance of the plea agreement, and imposition of

 sentence are specifically reserved for the district judge.



                                                s/ Susan K. Lee
                                                SUSAN K. LEE
                                                UNITED STATES MAGISTRATE JUDGE


                                       NOTICE TO PARTIES

          You have the right to de novo review of the foregoing findings by the district judge. Any
 application for review must be in writing, must specify the portions of the findings or proceedings
 objected to, and must be filed and served no later than fourteen days after the plea hearing. Failure
 to file objections within fourteen days constitutes a waiver of any further right to challenge the plea
 of guilty in this matter. See 28 U.S.C. §636(b).




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